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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR09-334 RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TEODORO SANTOS-CRUZ,                 )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Cocaine and Heroin; Possession of Cocaine with

15                         Intent to Distribute; Distribution of Cocaine

16 Date of Detention Hearing:     October 13, 2009

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense the maximum penalty of which


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

02 dangerousness and flight risk, under 18 U.S.C. §3142(e).

03          2.      Defendant is a citizen of Mexico. He moved to the United States in 2005 but

04 returned to Mexico for an extended stay approximately one year ago. He could not confirm his

05 current address. He has no record of employment.

06          3.      Taken as a whole, the record does not effectively rebut the presumption that no

07 condition or combination of conditions will reasonably assure the appearance of the defendant

08 as required and the safety of the community.

09 It is therefore ORDERED:

10          (1)     Defendant shall be detained pending trial and committed to the custody of the

11                  Attorney General for confinement in a correction facility separate, to the extent

12                  practicable, from persons awaiting or serving sentences or being held in custody

13                  pending appeal;

14          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

15                  counsel;

16          (3)     On order of a court of the United States or on request of an attorney for the

17                  Government, the person in charge of the corrections facility in which defendant

18                  is confined shall deliver the defendant to a United States Marshal for the purpose

19                  of an appearance in connection with a court proceeding; and

20          (4)     The clerk shall direct copies of this Order to counsel for the United States, to

21                  counsel for the defendant, to the United States Marshal, and to the United States

22                  Pretrial Services Officer.


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         DATED this 13th day of October, 2009.



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03                                          Mary Alice Theiler
                                            United States Magistrate Judge
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     DETENTION ORDER                                                                15.13
     18 U.S.C. § 3142(i)                                                         Rev. 1/91
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